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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         DEFENSE FOR CHILDREN                       No. 24-704
         INTERNATIONAL-
                                                      D.C. No.
         PALESTINE; AL-HAQ; AHMED
                                                   4:23-cv-05829-
         ABU ARTEMA; MOHAMMED
                                                        JSW
         AHMED ABU
         ROKBEH; MOHAMMAD
         HERZALLAH; LAILA                            OPINION
         ELHADDAD; WAEIL
         ELBHASSI; BASIM
         ELKARRA; OMAR AL-NAJJAR,
         Dr.; AYMAN NIJIM,

                      Plaintiffs - Appellants,

           v.

         JOSEPH R. BIDEN, President of the
         United States; ANTONY J.
         BLINKEN, Secretary of
         State; LLOYD J. AUSTIN III,
         Secretary of Defense, in their official
         capacities,

                      Defendants - Appellees,

                Appeal from the United States District Court
                  for the Northern District of California
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                   Jeffrey S. White, District Judge, Presiding

                      Argued and Submitted June 10, 2024
                           San Francisco, California

                                Filed July 15, 2024

          Before: Consuelo M. Callahan, Jacqueline H. Nguyen, and
                      Daniel A. Bress, Circuit Judges.

                               Per Curiam Opinion


                                   SUMMARY*


                          Political Question Doctrine

             The panel affirmed the district court’s dismissal, as not
         justiciable under the political question doctrine, of plaintiffs’
         action seeking to enjoin the President and other senior
         Executive Branch officials from providing military,
         diplomatic, and financial support to Israel in its ongoing
         operations in the Gaza Strip.
             Plaintiffs   are      Palestinian     nongovernmental
         organizations, residents of Gaza, and Palestinian-
         Americans. They alleged that the defendants violated their
         obligations to prevent genocide under Article I of the
         Genocide Convention; and that the United States’ provision
         of military and other assistance to the Israeli government

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         made the United States complicit in genocide in violation of
         Article III(e) of the Genocide Convention and its
         implementing legislation, 17 U.S.C. § 1091, which makes
         genocide a federal crime. They sought wide-ranging
         injunctive and declarative relief.
             Applying the framework outlined in Baker v. Carr, 369
         U.S. 186, 217 (1962), the panel concluded that plaintiffs’
         complaint        presented        nonjusticiable        political
         questions. Plaintiffs’ lawsuit would place our country’s
         strategic approach to a major world conflict under the
         auspices of a single federal district court. Plaintiffs’ lawsuit
         and extraordinary requests for relief presented political
         questions grounded in matters committed to those branches
         of the government that exercise military and diplomatic
         prerogatives. The courts do not chart the national security
         and geopolitical objectives of the United States. The panel
         rejected plaintiffs’ contention that their centering of the case
         around the alleged violations of legal duties took it outside
         the political question doctrine. The panel also rejected
         plaintiffs’ contention that their request for a declaratory
         judgment avoided any political question impediment.


                                  COUNSEL

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         Maxwell A. Baldi (argued), Sharon Swingle, and Jonathan
         Kossak, Appellate Staff Attorneys, Civil Division; Ismail J.
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         International Law Scholars.
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         Meena Jagannath, Movement Law Lab, Miami, Florida;
         Jeena Shah, City University of New York School of Law,
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                                   OPINION

         PER CURIAM:

             Asserting violations of international law, the plaintiffs in
         this case ask us to enjoin the President and other senior
         Executive Branch officials from providing military,
         diplomatic, and financial support to Israel in its ongoing
         operations in the Gaza Strip. The plaintiffs also ask for a
         declaration that the United States’ current support of Israel
         is unlawful. We hold that plaintiffs’ lawsuit is not justiciable
         under the political question doctrine. We affirm the
         dismissal of plaintiffs’ complaint.
                                         I
             After Hamas militants attacked Israel on October 7,
         2023, Israel began a military campaign in Gaza. Since
         October 7th, the United States has supported Israel through
         military, diplomatic, and financial means. The plaintiffs in
         this case are Palestinian nongovernmental organizations,
         residents of Gaza, and Palestinian-Americans. Suing the
         President, the Secretary of State, and the Secretary of
         Defense, plaintiffs claim that Israel is committing a genocide
         in Gaza against the Palestinian people. Plaintiffs maintain
         that the United States’ support of Israel and its failure to stop
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         the alleged genocide violate customary international law and
         the Genocide Convention, which was adopted by the United
         Nations General Assembly in 1948 and ratified by the
         United States in 1988. See Convention on Prevention and
         Punishment of Crime of Genocide, Dec. 9, 1948, 78
         U.N.T.S. 277.
             The complaint asserts two claims. First, plaintiffs allege
         that the defendants are violating their obligations to prevent
         genocide under Article I of the Genocide Convention, such
         as by failing to use the United States’ “considerable
         influence to call for an end to the bombing, cut off weapons
         deliveries or take measures to end the siege.” Second, they
         allege that the United States’ provision of “military
         assistance, equipment, weapons, and other forms of support
         to the Israeli government” makes the United States complicit
         in genocide, in violation of Article III(e) of the Genocide
         Convention and its implementing legislation, 18 U.S.C.
         § 1091, which makes genocide a federal crime.
             Plaintiffs’ complaint demands wide-ranging injunctive
         and declaratory relief, including the following: (1) “Order
         Defendants to take all measures within their power to exert
         influence over Israel to end its bombing of the Palestinian
         people of Gaza;” and (2) “[E]njoin[] Defendants from
         aiding, abetting, enabling or facilitating Israel’s commission
         of genocidal acts against the Palestinian people of Gaza,”
         including by (a) “Enjoin[ing] Defendants from providing,
         facilitating, or coordinating military assistance or financing
         to Israel; from initiating, acting upon, continuing,
         expediting, or completing sales, transfers, or delivery of
         weapons and arms to Israel; and from providing military
         equipment and personnel, advancing Israel’s commission of
         genocidal acts,” and (b) “Enjoin[ing] Defendants from
         obstructing attempts by the international community,
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         including at the United Nations, to implement a ceasefire in
         Gaza and lift the siege on Gaza.” Plaintiffs also asked the
         district court to enter a preliminary injunction preventing
         defendants “from providing any further military or financial
         support, aid, or any form of assistance to Israel’s
         attacks . . . .”
             The district court dismissed the complaint because
         plaintiffs’ claims raised “fundamentally non-justiciable
         political questions.” We review this determination de novo.
         See Saldana v. Occidental Petroleum Corp., 774 F.3d 544,
         551 (9th Cir. 2014) (per curiam).
                                        II
             Though federal courts decide cases with political
         overtones, we do not decide political questions. “Questions,
         in their nature political, or which are, by the constitution and
         laws, submitted to the executive, can never be made in this
         court.” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 170
         (1803). This “narrow exception” to our presumptive
         exercise of jurisdiction is known as the “political question”
         doctrine. Zivotofsky ex rel. Zivotofsky v. Clinton (Zivotofsky
         I), 566 U.S. 189, 195 (2012). It “excludes from judicial
         review those controversies which revolve around policy
         choices and value determinations constitutionally committed
         for resolution to the halls of Congress or the confines of the
         Executive Branch.” Japan Whaling Ass’n v. Am. Cetacean
         Soc’y, 478 U.S. 221, 230 (1986). The doctrine “is primarily
         a function of the separation of powers.” Baker v. Carr, 369
         U.S. 186, 210 (1962). It reflects the foundational precept,
         central to our form of government, that federal courts decide
         only matters of law, with the elected branches setting the
         policies of our nation. Because this doctrine embodies a
         limit on the powers of the judiciary, we lack subject matter
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         jurisdiction to resolve claims that present political questions.
         See Corrie v. Caterpillar, Inc., 503 F.3d 974, 980–81 (9th
         Cir. 2007).
             In Baker v. Carr, the Supreme Court instructed that to
         determine whether a claim presents a nonjusticiable political
         question, we ask whether it “inextricabl[y]” involves:

                [1] a textually demonstrable constitutional
                commitment of the issue to a coordinate
                political department; or [2] a lack of
                judicially discoverable and manageable
                standards for resolving it; or [3] the
                impossibility of deciding without an initial
                policy determination of a kind clearly for
                nonjudicial decision; or [4] the impossibility
                of a court’s undertaking independent
                resolution without expressing lack of the
                respect due coordinate branches of
                government; or [5] an unusual need for
                unquestioning adherence to a political
                decision already made; or [6] the potentiality
                of embarrassment from multifarious
                pronouncements by various departments of
                one question.

         Baker, 369 U.S. at 217.            These factors require “a
         discriminating analysis of the particular question posed, in
         terms of the history of its management by the political
         branches, of its susceptibility to judicial handling in light of
         its nature and posture in the specific case, and of the possible
         consequences of judicial action.” Id. at 211–12. Although
         the first two factors “are likely the most important,” the
         “Baker factors ‘often collaps[e] into one another.’” Republic
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         of Marshall Islands v. United States, 865 F.3d 1187, 1200
         (9th Cir. 2017) (alteration in original) (quoting Alperin v.
         Vatican Bank, 410 F.3d 532, 544 (9th Cir. 2005)). And “we
         need only conclude that one factor is present” to find that the
         political question doctrine applies. Id. (quoting Schneider v.
         Kissinger, 412 F.3d 190, 194 (D.C. Cir. 2005)).
             Applying this framework, we conclude that plaintiffs’
         complaint presents nonjusticiable political questions. We
         fully appreciate that it is “error to suppose that every case or
         controversy which touches foreign relations lies beyond
         judicial cognizance.” Baker, 369 U.S. at 211. But this case
         goes beyond that. By the textual allocation of powers in our
         founding document, “the management of foreign affairs
         predominantly falls within the sphere of the political
         branches,” with “the courts consistently defer[ring] to those
         branches.” Alperin, 410 F.3d at 549 (citing, e.g., Am. Ins.
         Ass’n v. Garamendi, 539 U.S. 396, 422 n.12 (2003);
         Oetjen v. Cent. Leather Co., 246 U.S. 297, 302 (1918)). And
         with no manageable standards to govern what kind of
         support to provide an ally in wartime, plaintiffs’ lawsuit
         would place our country’s strategic approach to a major
         world conflict under the auspices of a single federal district
         court.
             “Whether to grant military or other aid to a foreign nation
         is a political decision inherently entangled with the conduct
         of foreign relations.” Corrie, 503 F.3d at 983. Yet by
         plaintiffs’ design, the foreign affairs, military, diplomatic,
         and spending functions of the United States—as they relate
         to the active conflagration in Gaza—would be subject to
         judicial decree. Plaintiffs’ lawsuit and extraordinary
         requests for relief present political questions grounded in
         matters committed to those branches of our government that
         exercise military and diplomatic prerogatives. The courts do
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          not chart the national security and geopolitical objectives of
          the United States. The law does not place such decisions
          within our rightful authority.
              We find strong support for our conclusion in Corrie v.
          Caterpillar, Inc., 503 F.3d 974 (9th Cir. 2007). In Corrie,
          the plaintiffs sued Caterpillar, alleging that the Israel
          Defense Forces (IDF) used Caterpillar bulldozers, paid for
          by the United States, to destroy homes in the Palestinian
          Territories. Id. at 976–77. Plaintiffs contended that the
          IDF’s actions violated international law and that Caterpillar
          aided and abetted those violations by providing the
          bulldozers. Id. at 976–77, 979.
              We held that because the United States had funded the
          bulldozer sales to Israel, the plaintiffs’ claims presented
          nonjusticiable political questions. Id. at 982. The reason
          was straightforward: “Allowing this action to proceed would
          necessarily require the judicial branch of our government to
          question the political branches’ decision to grant extensive
          military aid to Israel.” Id. The political question doctrine
          applied because “[i]t is not the role of the courts to indirectly
          indict Israel for violating international law with military
          equipment the United States government provided and
          continues to provide.” Id. at 984. The case was not
          justiciable because we “could not find in favor of the
          plaintiffs without implicitly questioning, and even
          condemning, United States foreign policy toward Israel.” Id.
              The logic of Corrie applies many times over here. The
          intrusion on foreign affairs in Corrie was “indirect” and
          “implicit.” But there is nothing “indirect” or “implicit”
          about the lawsuit before us. Plaintiffs have sued the
          President and other senior Executive Branch officials
          directly. And they explicitly ask the courts to condemn the
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          United States’ foreign policy toward Israel, to the point of
          wresting this responsibility away from the Executive Branch
          and placing it under judicial control. If the political question
          doctrine was implicated in Corrie, surely it is implicated
          here.
              Resisting this conclusion, the plaintiffs maintain that the
          political question doctrine applies only to “discretionary”
          Executive decisions, and that here they have alleged non-
          compliance with legal duties—the duties to prevent and not
          be complicit in genocide. In plaintiffs’ view, their centering
          this case around the alleged violations of legal duties takes it
          outside the political question doctrine.
              Plaintiffs’ theory is mistaken. Many, if not most,
          grievances can be styled as the violation of an asserted legal
          obligation. In this case, we question whether the plaintiffs’
          claimed legal violations can be meaningfully isolated out
          from the considerable discretion that otherwise characterizes
          the political branches’ powers in the areas of foreign and
          military affairs. See Baker, 369 U.S. at 217; Corrie, 503
          F.3d at 983 n.8. Regardless, there is no valid support for the
          idea that merely alleging the violation of a claimed legal duty
          means that the political question doctrine does not apply.
          Courts must instead consider the full import of the legal
          claim and the implications of the judiciary deciding it under
          our separation of powers. Application of the political
          question doctrine turns not merely on the formal duty-
          discretion distinction that plaintiffs posit but, as the Supreme
          Court has said, on a “discriminating analysis of the particular
          question posed, in terms of the history of its management by
          the political branches, of its susceptibility to judicial
          handling in the light of its nature and posture in the specific
          case, and of the possible consequences of judicial action.”
          Baker, 369 U.S. at 211–12. We agree with the D.C. Circuit
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          that “[t]he political question doctrine bars our review of
          claims that, regardless of how they are styled, call into
          question the prudence of the political branches in matters of
          foreign policy or national security constitutionally
          committed to their discretion.” El-Shifa Pharm. Indus.
          Co. v. United States, 607 F.3d 836, 842 (D.C. Cir. 2010) (en
          banc) (emphasis added).
              Our precedents bear out this observation. We have
          repeatedly held that the political question doctrine applies in
          the face of allegations that a defendant had violated legal
          obligations rooted in international law, where the United
          States’ foreign policy decisions were strongly implicated. In
          Corrie, as we have discussed, we held that the political
          question doctrine prevented judicial resolution of claims
          premised on the allegation that Caterpillar aided and abetted
          the violation of international law, because the Caterpillar
          bulldozers were paid for by the United States. 503 F.3d at
          979, 982. In Alperin, we held that we lacked jurisdiction to
          decide political questions relating to the Vatican Bank’s
          alleged assistance in a Nazi-supported genocide committed
          by the Croatian Ustasha regime. 410 F.3d at 548. The
          plaintiffs asserted violations of international law, including
          prohibitions on genocide. Id. at 543–44. But we recognized
          that “[w]e are not a war crimes tribunal,” and that
          adjudicating the claims about the Vatican’s support for
          certain war objectives “would require us to ‘intrude unduly
          on certain policy choices and value judgments that are
          constitutionally committed to the political branches.’” Id. at
          560 (alterations omitted) (quoting Koohi v. United States,
          976 F.2d 1328, 1331 (9th Cir. 1992)).
              Similarly, in Saldana, we held that we lacked jurisdiction
          under the political question doctrine to decide plaintiffs’
          federal and state law claims based on an oil company’s
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          support of the Colombian National Army’s 18th Brigade.
          774 F.3d at 552. Because the United States had also
          supported the Brigade, deciding plaintiffs’ claims would
          “necessarily require[] the judicial branch to question the
          political branches’ decision to provide extensive military aid
          to Colombia” and its army. Id. We thus lacked subject
          matter jurisdiction under the political question doctrine, even
          though the plaintiffs alleged human rights violations that
          provided the basis for their legal claims. Id. at 549–50.
          Although some cases involving alleged genocide will be
          justiciable, as the United States agrees, our precedents bely
          plaintiffs’ argument that the violation of a claimed legal duty
          is the be-all and end-all of the political question analysis.
              Plaintiffs’ heavy reliance on Zivotofsky I is therefore
          misplaced. There, the Supreme Court held that federal
          courts had jurisdiction over a dispute concerning Congress’s
          attempt to “override” the State Department’s policy of listing
          “Jerusalem,” rather than “Israel,” as the place of birth on the
          passport of a U.S. citizen born in Jerusalem. Zivotofsky I,
          566 U.S. at 191–92. The political question doctrine did not
          apply because the federal courts were not being asked to
          “supplant a foreign policy decision of the political branches
          with the courts’ unmoored determination of what United
          States policy towards Jerusalem should be.” Id. at 196.
          Instead, the only issue was whether the law Congress
          passed—requiring “Israel” to be listed as the place of birth—
          was an unconstitutional usurpation of Executive power. Id.
          The statutory and constitutional interpretation required to
          answer this question, the Court held, was “a familiar judicial
          exercise.” Id.
             What we have here is anything but familiar. The myriad
          “policy choices and value determinations” that a court would
          need to pass on in this case, Japan Whaling Ass’n, 478 U.S.
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          at 230, include, by the allegations of the complaint:
          evaluating the “military decisions and strategy” the United
          States has followed with respect to Israel, the scope of the
          United States’ influence over Israel, whether the United
          States should have imposed “conditions on its support to
          Israel,” and how the United States has acted in the United
          Nations Security Council.
              The justiciable statutory and constitutional questions in
          Zivotofsky I bear no relation to what plaintiffs ask for here: a
          court “[e]njoining Defendants from providing, facilitating,
          or coordinating military assistance or financing to Israel.” In
          what was ultimately a dispute between the political
          branches, the plaintiff in Zivotofsky I wanted a birthplace on
          a passport to be changed. The plaintiffs here want the
          judiciary to evaluate and reject the “military decisions and
          strategy” that the United States has followed with respect to
          Israel and Gaza since October 7, 2023. Our precedents, like
          our decision today, are fully consistent with Zivotofsky I.
          Nothing in that case supports plaintiffs’ far-reaching request
          for the courts to “condemn[] United States foreign policy
          toward Israel,” Corrie, 503 F.3d at 984, and to question
          whether American “economic and military aid” to Israel is
          “necessary and appropriate.” Saldana, 774 F.3d at 555.
              It does not matter that plaintiffs have also sought a
          declaratory judgment. Plaintiffs argue this form of relief
          avoids any political question impediment, but that is
          incorrect. Plaintiffs would have a federal court “[d]eclare
          that Defendants have violated their duty under customary
          international law, as part of federal common law, to take all
          measures within their power to prevent Israel from
          committing genocide against the Palestinian people of
          Gaza,” and to declare that the United States has violated
          international law through its complicity in Israel’s alleged
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          genocidal acts. Resolving this request for relief would
          present the same political questions we discussed above. We
          have held that the political question doctrine applies to
          requests for declaratory relief, see, e.g., Corrie, 503 F.3d at
          984, and the same result obtains here.
              We make one final observation. Although the district
          court concluded that plaintiffs’ claims presented
          “fundamentally non-justiciable political questions,” it also
          commented on the merits of plaintiffs’ case. Among other
          things, the district court stated that “the current treatment of
          the Palestinians in the Gaza Strip by the Israeli military may
          plausibly constitute a genocide in violation of international
          law.” To the extent plaintiffs construe the district court’s
          commentary as factual findings, plaintiffs are incorrect.
          Because the district court lacked subject matter jurisdiction,
          any claimed factual findings and related commentary are of
          no legal force. Once it is determined that claims present
          political questions, the judicial inquiry ends.
             AFFIRMED.
